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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                        December 02, 2021
                              UNITED STATES DISTRICT COURT
                                                                                        Nathan Ochsner, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION

MARIO YARRITO,                                    §
                                                  §
          Petitioner,                             §
VS.                                               § CIVIL ACTION NO. 7:21-CV-171
                                                  §
BOBBY LUMPKIN,                                    §
                                                  §
          Respondent.                             §


              ORDER ADOPTING REPORT AND RECOMMENDATION

        Pending before the Court is Petitioner Mario Yarrito’s Petition for Writ of Habeas Corpus

Pursuant to 28 U.S.C. § 2254, which had been referred to the Magistrate Court for a report and

recommendation. On October 19, 2021, the Magistrate Court issued the Report and

Recommendation, recommending that Respondent’s motion for summary judgment be granted,

that Petitioner’s § 2254 habeas petition be denied, that Petitioner be denied a certificate of

appealability, and that this action be dismissed.       Petitioner Mario Yarrito has filed timely

objections to the Magistrate Court’s Report and Recommendation. In such objections, Petitioner

contends the Magistrate Court misunderstood his claim. Petitioner contends he is not challenging

that the denial of parole violated his due process rights, but rather that the failure to provide the

requisite interview denied him a meaningful opportunity to be heard and that this constituted a

due process violation. Regardless of whether the Magistrate Court specially understood this

distinction, Petitioner’s claim fails.

        The Fifth Circuit has held that “[t]he protections of the Due Process Clause are only

invoked when State procedures which may produce erroneous or unreliable results imperil a

protected liberty or property interest. It is therefore axiomatic that because Texas prisoners have

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no protected liberty interest in parole they cannot mount a challenge against any state parole

review procedure on procedural (or substantive) Due Process grounds.”1 Thus, the Magistrate

Court correctly held that Petitioner has no protected liberty interest in parole and therefore no

right to relief.

           Pursuant to 28 U.S.C. § 636(b)(1)(c), the Court has made a de novo determination of

those portions of the report to which objections have been made. As to those portions to which

no objections have been made, in accordance with Federal Rule of Civil Procedure 72(b), the

Court has reviewed the report for clear error.

           Having thus reviewed the record in this case, the parties’ filing and the applicable law,

the Court adopts the Report and Recommendation in its entirety. Accordingly, it is hereby

ORDERED that Respondent’s Motion for Summary Judgment is GRANTED, that Petitioner’s

Petition for Writ of Habeas Corpus Pursuant to § 2254 is DENIED, that Petitioner is denied a

certificate of appealability, and that this action is DISMISSED.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 2nd day of December, 2021.


                                                             ___________________________________
                                                             Micaela Alvarez
                                                             United States District Judge




1   Johnson v. Rodriguez, 110 F.3d 299, 308 (5th Cir. 1997) (Internal citations omitted).


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